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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                             )
                                                      )
                         Plaintiff,                   )
                                                      )                    8:12CR310
                vs.                                   )
                                                      )                      ORDER
CHRISTINA CASTELLAW,                                  )
                                                      )
                         Defendant.                   )

        Defendant Christina Castellaw (Castellaw) appeared before the court on June 22, 2015, on the
Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 107). Castellaw
was represented by Clarence E. Mock, III, and the United States was represented by Assistant U.S.
Attorney Kimberly C. Bunjer. Through her counsel, Castellaw waived her right to a probable cause
hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that the Petition alleges probable
cause and that Castellaw should be held to answer for a final dispositional hearing before Chief Judge
Laurie Smith Camp.
        The government moved for detention. Through counsel, Castellaw declined to present any
evidence or request a hearing on the issue of detention. Since it is Castellaw’s burden under 18 U.S.C.
§ 3143 to establish by clear and convincing evidence that she is neither a flight risk nor a danger to the
community, the court finds Castellaw has failed to carry her burden and that Castellaw should be detained
pending a dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 9:30 a.m. on August 6, 2015. Defendant must be present in person.
        2.      Defendant Christina Castellaw is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 22nd day of June, 2015.

                                                          BY THE COURT:

                                                          s/ Thomas D. Thalken
                                                          United States Magistrate Judge
